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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON
                                   PORTLAND DIVISION




 DALLAS BUYERS CLUB, LLC,                          Case No.: 3:15-cv-00907-AC

                              Plaintiff,

       v.                                          PLAINTIFF’S RESPONSES TO
                                                   DEFENDANT’S EVIDENTIARY
 JOHN HUSZAR,                                      OBJECTIONS MADE IN REPLY IN
                                                   SUPPORT OF MOTION FOR
                                                   SUMMARY JUDGMENT
                              Defendant.




       Plaintiff responds to Defendant’s evidentiary objections in its Reply ISO Motion for

Summary Judgment. ECF 146, at p. 9. Defendant objects to the Report of Stephen Bunting

attached as Exhibit 1 to ECF 145 (the “Bunting Report”) as (1) lacking foundation; (2) hearsay;

and (3) lacking personal knowledge.


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       Defendant’s evidentiary objections are misplaced for several reasons. First, Plaintiff does

not cite the Bunting Report as substantive evidence of any fact, but presents it to dispute expert

opinion of Defendant’s expert Dr. Toth. To the extent Defendant relies on Dr. Toth’s report (the

“Toth Report”) as a basis for a finding of fact, the Bunting Report shows there are disputed

issues of fact. Second, Defendant’s foundation and personal knowledge objections go to the

weight of the evidence, not its admissibility. Third, Defendant’s hearsay objection is incorrect

because Plaintiff is not citing the Bunting Report for the truth of any matter asserted, but to

counter Defendant’s claim that the Toth Report shows that there is no disputed issue of material

fact and that Defendant is entitled to judgment as a matter of law.

       It is well-established that in ruling on a motion for summary judgment, the Court will

consider the admissibility of the proffered evidence’s contents, not its form. ECF 41, at p. 3

(citing Fraser v. Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003) (“At the summary judgment

stage we do not focus on the admissibility of the evidence’s form. We instead focus on the

admissibility of its content.”); Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986) (“We do not

mean that the nonmoving party must produce evidence in a form that would be admissible at trial

in order to avoid summary judgment….”)); ECF 48, at pp. 3-4 (quoting Fraser v. Goodale, 342

F.3d 1032, 1036 (9th Cir. 2003) and citing Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)).

       Objection Based on Lack of Foundation: Defendant objects to the Bunting Report as

lacking foundation because (1) “it relies on evidence and documents not included in the report”;

(2) “was authored to support another case”; and (3) “relies on documents and evidence requested

in discovery by [Defendant], but not produced by [Plaintiff] prior to the close of discovery.”




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        Response: Defendant’s lack of foundation objection is misplaced, because the Bunting

Report is solely intended to present an expert’s opinion. There is no question that the Bunting

Report is admissible to challenge either expert opinion or facts cited in the Toth Report.

Defendant’s objection might be a basis for arguing against the weight of the opinion if offered at

trial, but it does not go to its admissibility.

        Objection to the Bunting Report Based on Hearsay: Defendant objects to the Bunting

Report as hearsay, arguing it “relies upon … phone conversations from Ben Perino, as the basis

for the truth of the matter asserted therein, namely that MaverickMonitor system is reliable.”

ECF 146, at p. 9.

        Response: Plaintiff’s hearsay objection relies on the faulty premise that Plaintiff

introduced the Bunting Report to prove the truth of the matter asserted: that MaverickMonitor

detects the IP addresses of infringing BitTorrent users correctly, consistently, and reliably.

Instead, as explained above, Plaintiff presented the Bunting Report as expert opinion

contradicting the opinion of Dr. Toth: “As is often the case, “there is another expert opinion in

this case, which disputes Dr. Toth’s opinions.” ECF 144, at p. 7. In any event, an expert is

permitted to rely on hearsay as a basis for expert opinions. Fed. R. Evi. 703. Any objections to

such reliance go to the weight of the evidence, not its admissibility.

        Objection to the Bunting Report Based on of Personal Knowledge: Defendant claims

the Bunting Report is inadmissible because it lacks the declarant’s personal knowledge in that

the Bunting Report “does not provide a computation of the false positive rate of the Maverick

Monitor system, and therefore Mr. Bunting cannot testify as to that rate.”




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       Response: Defendant’s lack of personal knowledge claim is incorrect. Expert witnesses

may rely on others’ statements, studies, and conclusions in asserting their own opinion. Fed. R.

Evi. 703. Again, this objection goes to the weight of the evidence, not its admissibility.

       Defendant’s evidentiary objections are not germane to the issue before the Court, which

is whether a genuine issue of material fact exists. The Court should disregard Defendant’s

objections.

DATED: August 28, 2018.                       HARRIS BRICKEN


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